     Case 2:05-cr-00243-WBS-CKD Document 185 Filed 05/25/16 Page 1 of 2


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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        No. 2:05-cr-0243 WBS CKD P
12                      Plaintiff,
13           v.                                       ORDER
14   JARVIS MARQUEZ TUBBS,
15                      Defendant.
16

17           Defendant is a federal prisoner proceeding with a motion brought pursuant to 28 U.S.C. §

18   2255. On May 23, 2016, counsel appeared on behalf of defendant. Counsel requests an

19   extension of time to file a motion for leave to amend.

20           Good cause appearing, IT IS HEREBY ORDERED that:

21           1. Plaintiff need not file an answer to defendant’s § 2255 motion until further notice from

22   the court; and

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     Case 2:05-cr-00243-WBS-CKD Document 185 Filed 05/25/16 Page 2 of 2


 1           2. Defendant is granted until June 26, 2016 to file motion for leave to amend his § 2255

 2   motion. Defendant shall include a copy of the proposed amended § 2255 motion with his motion

 3   for leave to amend.

 4   Dated: May 25, 2016
                                                     _____________________________________
 5
                                                     CAROLYN K. DELANEY
 6                                                   UNITED STATES MAGISTRATE JUDGE

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